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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

                          CASE NO. 2:22-cv-582-JLB-KCD

DANIEL LUGO,

            Plaintiff,
v.

BUHELOS, INC.

          Defendant.
____________________________________/

            STIPULATION OF DISMISSAL WITH PREJUDICE

      The parties stipulate and agree that this action is dismissed with prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each side to bear

his/its own fees and costs except as otherwise agreed.

 s/Drew M. Levitt                          s/Lenore T. Brakefield
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